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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                         :      CHAPTER 7
                                               :
SHARON MARIE WINSTON,                          :      CASE NO. 15-66160-JRS
                                               :
         Debtor.                               :
                                               :

         NOTICE OF PLEADING, DEADLINE TO OBJECT, AND FOR HEARING

         PLEASE TAKE NOTICE that on September 21, 2020, S. Gregory Hays, as Chapter 7

Trustee (“Trustee”) for the bankruptcy estate (the “Bankruptcy Estate”) of Sharon Marie

Winston (“Debtor”), filed Trustee’s Motion to Pay Excess Life Insurance Proceeds to Debtor

[Doc. No. 49] (the “Motion”) and related papers with the Court, seeking an order, among other

things, authorizing Trustee to pay $1,365.75 of excess proceeds resulting from a certain Life

Insurance Policy1 that was the subject of a certain Settlement Agreement between Trustee and

Debtor.2

         Pursuant to General Order No. 24-2018, the Court may consider this matter without further

notice or a hearing if no party in interest files a response or objection within twenty-one (21) days

from the date of service of this notice. If you object to the relief requested in the Motion, you must

timely file your objection with the Bankruptcy Clerk at: Bankruptcy Clerk, U.S. Bankruptcy

Court, Suite 1340, 75 Ted Turner Drive, S.W., Atlanta, Georgia 30303, and serve a copy on the

Trustee's attorney, Michael J. Bargar, Arnall Golden Gregory LLP, 171 17th Street, NW, Suite 2100,


1
      Capitalized terms not defined herein shall have the meanings ascribed to them in the
Motion.
2
        Trustee estimates that the Interest of the Bankruptcy Estate in the Property has a non-
exempt, unencumbered value of approximately $20,000.0, after accounting for the likely costs of
a sale of the Property. Debtor disagrees with Trustee’s valuation.



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Atlanta, Georgia 30363, and any other appropriate persons by the objection deadline. The response

or objection must explain your position and be actually received by the Bankruptcy Clerk within the

required time.

        A hearing on the Motion has been scheduled for October 20, 2020 at 10:30 a.m., in

Courtroom 1404, United States Courthouse, 75 Ted Turner Drive, S.W., Atlanta, Georgia. If an

objection or response is timely filed and served, the hearing will proceed as scheduled. If you do

not file a response or objection within the time permitted, the Court may grant the relief

requested without further notice or hearing provided that an order approving the relief requested is

entered at least one business day prior to the scheduled hearing. If no objection is timely filed, but no

order is entered granting the relief requested at least one business day prior to the hearing, the hearing

will be held at the time and place as scheduled.

        Given the current public health crisis, hearings may be telephonic only. Please check the

“Important Information Regarding Court Operations During COVID-19 Outbreak” tab at the top

of the GANB Website prior to the hearing for instructions on whether to appear in person or by

phone.”

        Your rights may be affected. You should read these papers carefully and discuss them

with your attorney, if you have one in this bankruptcy case. If you do not have an attorney,

you may wish to consult one.

        Dated: September 23, 2020.
                                                ARNALL GOLDEN GREGORY LLP
                                                Attorneys for Trustee

                                                By:      /s/ Michael J. Bargar
171 17th Street, NW, Suite 2100                          Michael J. Bargar
Atlanta, GA 30363                                        Georgia Bar No. 645709
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